      Case: 1:03-cv-01192-SO Doc #: 277 Filed: 11/16/23 1 of 1. PageID #: 10850




                                        Case No. 07-3766/15-4308

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                                ORDER

ODRAYE G. JONES, nka Malik Allah-U-Akbar

               Petitioner - Appellant

v.

MARGARET BRADSHAW, Warden

               Respondent - Appellee



BEFORE: MOORE, COLE, and GRIFFIN, Circuit Judges.



     Upon consideration of the appellee’s motion for an extension of time until July 26, 2024,

to comply with the conditional writ in which to commence Jones’ new penalty-phase trial,

     And further considering the appellant’s opposition thereto,

     It is therefore ORDERED that the motion be and it hereby is DENIED.



                                                    ENTERED BY ORDER OF THE COURT
                                                    Kelly L. Stephens, Clerk


Issued: November 14, 2023
